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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9
     MICHELLE MCGEE, individually and on               Case No. 2:23-cv-01875
10   behalf of all others similarly situated,
                                                       STATUS REPORT AND STIPULATED
11                                                     MOTION AND ORDER RE: BRIEFING
                        Plaintiff,                     SCHEDULE
12          v.

13   NORDSTROM INC.,

14                          Defendant.
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17          Pursuant to the Court’s Order of April 5, 2024 (Dkt. 17), Plaintiff Michelle McGee

18   (“Plaintiff”) and Defendant Nordstrom Inc. (“Nordstrom”) (collectively, the “Parties”)

19   respectfully submit this status report.

20          1.       On June 6, 2024, the Court entered an Order (Dkt. 17) granting the Parties’

21   Stipulated Motion to Strike Deadlines to Allow Settlement Discussions. The Parties participated

22   in formal mediation with Judge Frank Maas on June 10, 2024. The mediation was unsuccessful.

23          2.       Defendant Nordstrom intends to move to compel arbitration of Plaintiff’s claims

24   and the parties have conferred regarding an orderly schedule for disposition of Nordstrom’s motion

25   to compel.

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 1          3.       The parties have agreed to the following briefing schedule on Nordstrom’s motion

 2   to compel arbitration, subject to the Court’s approval:

 3          •     Deadline for Motion to Compel Arbitration: June 28, 2024

 4          •     Deadline for Opposition to Motion: July 19, 2024

 5          •     Deadline for Reply and Noting Date: July 26, 2024

 6          •     Deadline to file a responsive pleading to the Complaint: 14 days after the Court’s ruling

 7                on the Motion to Compel.

 8      IT IS SO STIPULATED.
 9   Respectfully submitted this 18th day of June, 2024.
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 1                                           ORDER

 2         IT IS SO ORDERED.

 3               Dated this 18th day of June, 2024.

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 5                                                    John H. Chun
 6                                                    United States District Judge

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     STATUS REPORT AND STIPULATED MOTION
     AND ORDER - 3
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